     Case 3:23-cv-00058 Document 42 Filed 03/24/23 Page 1 of 1 PageID #: 442




                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


GENBIOPRO, INC.,

                              Plaintiff,

v.                                                    CIVIL ACTION NO. 3:23-0058

MARK A. SORSAIA, in his official capacity
as Prosecuting Attorney of Putnam County and
PATRICK MORRISEY, in his official capacity
as Attorney General of West Virginia,

                              Defendants.



                                            ORDER

       Pending before the Court is Defendant Patrick Morrisey’s Unopposed Motion to Extend

Deadline for Reply in Support of Defendant Morrisey’s Motion to Dismiss. ECF No. 41. For

reasons appearing before the Court, the Motion is GRANTED. Defendant Morrisey shall file his

Reply by Friday, March 31, 2023. The Court DIRECTS the Clerk to send a copy of this Order

to counsel of record and any unrepresented parties.



                                             ENTER:        March 24, 2023




                                             ROBERT C. CHAMBERS
                                             UNITED STATES DISTRICT JUDGE
